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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 PHILLIP LEE; PAMELA WHITE;                      Case No. 22-12153
 PATRICIA VANDUSEN; RONALD
 ALLIX; and RANDY WELCH,                         Hon. Shalina D. Kumar
 individually and on behalf of all others
 similarly situated,                             Magistrate Judge David R. Grand

                    Plaintiffs,
 vs.

 BELVOIR MEDIA GROUP, LLC,

                    Defendant.
                                                                                   /

                    DEFENDANT’S EX PARTE MOTION TO
                    ENLARGE REPLY BRIEF PAGE LIMIT

       Defendant Belvoir Media Group, LLC (“Defendant”), moves for a two page

 enlargement of its Reply Brief in Support of its Motion to Dismiss (for a total of

 eleven pages) as follows:

       1.     Defendant’s Reply Brief in support of its Motion to Dismiss Plaintiffs’

 First Amended Complaint [ECF 18] must be filed with this Court on or before

 Monday, March 13, 2023.

       2.     On March 6, 2023, Plaintiffs filed a Corrected Motion for Leave to File

 a Notice of Supplemental Authority [ECF 21].         Plaintiffs’ Motion for Leave

 concerns a Report and Recommendation issued by Magistrate Judge Kimberly G.

 Altman in Briscoe v. NTVB Media, Inc., which has not been adopted by U.S. District
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 Court Judge F. Kay Behm, and which is currently open to objection by defendant in

 that case.

       3.     On March 6, 2023, Chief Judge Hala Jarbou of the United States

 District Court for the Western District of Michigan issued an Opinion, Order and

 Judgment in Bozung v. Christianbook, LLC, Case No. 1:22-cv-304 (Attached as

 Exhibit A). In Bozung, Judge Jarbou addressed nearly identical issues as those

 raised in this matter concerning Michigan’s Preservation of Personal Privacy Act,

 disagreed with the Report and Recommendation that is the subject of Plaintiffs’

 pending Motion for Leave, followed Judge Stephen Murphy’s decision in Nashel v.

 New York Times, No. 2:22-cv-10655, 2022 WL 6775657 (E.D. Mich. Oct. 11, 2022),

 and granted the defendant’s motion to dismiss the plaintiff’s Complaint pursuant to

 Fed. R. Civ. P. 12(b)(6).

       4.     On December 22, 2022, the Court entered a Stipulated Order Extending

 Deadlines, Setting Briefing Schedule and Enlarging Page Limits [ECF 17]. This

 Stipulated Order granted Defendant nine pages for its Reply Brief, but it was entered

 prior to the issuance of the Bozung decision.

       5.     The March 6, 2023 Bozung decision by the Chief Judge of the Western

 District is a significant ruling. In order to fully address the very recent Bozung

 decision, a modest enlargement of Defendant’s Reply Brief of two pages is

 warranted.


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       6.     Defendant will make a good faith effort to condense its Reply Brief as

 much as is practicable.

       7.     On March 7, 2023, Defendant explained the nature and basis of this

 Motion to Plaintiffs and sought concurrence, but such concurrence was denied.

       WHEREFORE, Defendant respectfully requests that this Court grant its ex

 parte Motion and enter an order enlarging the page limit for its Reply Brief by two

 pages (for a total Reply Brief length of eleven pages).

                                       Respectfully Submitted,

 Dated: March 7, 2023                  s/Carol G. Schley
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

 PHILLIP LEE; PAMELA WHITE;                 Case No. 22-12153
 PATRICIA VANDUSEN; RONALD
 ALLIX; and RANDY WELCH,                    Hon. Shalina D. Kumar
 individually and on behalf of all others
 similarly situated,                        Magistrate Judge David R. Grand

                    Plaintiffs,
 vs.

 BELVOIR MEDIA GROUP, LLC,

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                                        /


       DEFENDANT’S BRIEF IN SUPPORT OF EX PARTE MOTION TO
               ENLARGE REPLY BRIEF PAGE LIMIT
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                                    ISSUE PRESENTED

       Whether the Court should enlarge the page limit for Defendant’s Reply Brief

 in support of its Motion to Dismiss Plaintiff’s First Amended Complaint by two

 pages (for a total of eleven pages).

       Defendant Responds: Yes




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         CONTROLLING OR MOST APPROPRIATE AUTHORITY

 LR 7.1(d)(3)
 Kimble v. Hoso, 439 F.3d 331, 336 (6th Cir. 2006)




                                        iii
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                             LAW AND ARGUMENT

       For the reasons addressed in its Motion, Defendant requests an additional two

 pages for its Reply Brief in Support of its Motion to Dismiss Plaintiffs’ First

 Amended Complaint. This modest enlargement is justified so that Defendant may

 address the arguments raised in Plaintiffs’ Response Brief, the arguments raised in

 Plaintiffs’ Motion for Leave, and the March 6, 2023 Opinion, Order and Judgment

 in Bozung v. Christianbook, LLC, Case No. 1:22-cv-304 (Attached as Exhibit A).

       The decision to extend page limitations is within the Court’s discretion.

 Kimble v. Hoso, 439 F.3d 331, 336 (6th Cir. 2006). Defendant will also make a

 good faith effort to condense its Reply Brief to make it as succinct as practicable.

       For these reasons and those set forth in the accompanying Motion, Defendant

 respectfully requests that the Court grant Defendant’s Ex Parte Motion to Enlarge

 Reply Brief Page Limit by two pages, for a total of eleven pages.




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 Dated: March 7, 2023              Respectfully submitted:

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                         CERTIFICATE OF SERVICE

         I certify that on March 7, 2023, I electronically filed the foregoing paper with

 the Clerk of the Court using the ECF system which will send notification of such

 filing to all attorneys of record.

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